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                        UNITED STATES DISTRICT COURT
                           Northern District of California

                                     CIVIL MINUTES


 Date: March 24, 2025             Time: 9:02-10:38                Judge: EDWARD M. CHEN
                                        10:55-12:18
                                        2 Hours, 59 Minutes

 Case No.: 25-cv-01766-EMC        Case Name: National TPS Alliance v. Noem

Attorneys for Plaintiffs: Ahilan Arulanatham, Jessica Bansal, Lauren Wilfong, Emilou
MacLean, Erik Crew, Amanda Young
Attorneys for Defendants: Anna Ditcher, Sara Voung

 Deputy Clerk: Vicky Ayala                           Court Reporter: April Brott

                                      PROCEEDINGS

Motion to Postpone - held


                                        SUMMARY

Parties stated appearances. Oral argument presented. Matter taken under submission.
